            Case 6:22-bk-14721-RB                         Doc        Filed 04/26/24 Entered 04/26/24 13:04:42                                Desc Main
   Fill in this information to identify the case:                   Document      Page 1 of 9
Debtor 1                 DENISE JANET MOORE
                         _____________________________________________________________________


Debtor 2                 _____________________________________________________________________
(Spouse, if filing)

                                        Central District of California (Riverside)
United States Bankruptcy Court for the: ______________________________________________________________________________________________________

             22­14721
Case number __________________________



 Official Form 410S1
 Notice of Mortgage Payment Change                                                                                                                     12/15

 If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
 debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
 as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
 Name of creditor:                                                                                                             3
                                                                                                   Court claim no. (if known): _______________________
 JPMorgan Chase Bank, National Association




                                                                                                   Date of payment change:
                                                                                                   Must be at least 21 days after date
                                                                                                   of this notice                           07/01/2024
                                                                                                                                            _____________


                                                                                                  New total payment:
                                                                                                                                             1390.16
                                                                                                                                            $________________
                                                                                                  Principal, interest, and escrow, if any
 Last 4 digits of any number you use to
 identify the debtor’s account:                                      0 ____
                                                                    ____ 5 ____
                                                                            8 ____
                                                                                6

   Part 1:            Escrow Account Payment Adjustment

  1.        Will there be a change in the debtor’s escrow account payment?

             No
            ✔ Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
            
                for the change. If a statement is not attached, explain why:



                                           435.73
                Current escrow payment: $ _________________                                                                       473.20
                                                                                                            New escrow payment: $ _________________

  Part 2:             Mortgage Payment Adjustment

  2.        Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
            variable-rate account?
            
            ✔ No
             Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why:



                Current interest rate: __________________%                                      New interest rate: __________________%

               Current principal and interest payment: $ __________________                     New principal and interest payment: $ __________________

  Part 3:             Other Payment Change


       3.     Will there be a change in the debtor’s mortgage payment for a reason not listed above?
              ✔ No
              
               Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                  (Court approval may be required before the payment change can take effect.)
               Reason for change:



                      Current mortgage payment: $ _________________                                New mortgage payment: $ _________________
 Official Form 410S1                                                    Notice of Mortgage Payment Change                                             page 1
              DENISE JANET MOORE                                                                  22­14721
   Case
    Debtor 6:22-bk-14721-RB
           1                             Doc Last
                                                Filed  04/26/24 EnteredCase
              ________________________________________________________
              First Name     Middle Name          Name
                                                                             04/26/24        13:04:42
                                                                               number (if known)              Desc Main
                                                                                                 ______________________
                                              Document           Page 2 of 9
 Part 4:      Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.


 Check the appropriate box.

     I am the creditor.
    ✔
     I am the creditor’s authorized agent.


 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
 information, and reasonable belief.




     /s/Raymond Reynolds
      ______________________________________________________________
      Signature
                                                                                      04/26/2024
                                                                                Date _______________




 Print:______________________________________________________________
        Raymond Reynolds                                                         Authorized Officer
                                                                                ____________________________________________________________
        First Name            Middle Name             Last Name                 Title


 Company JPMorgan Chase Bank, N.A.
         ____________________________________________________________

 Address    Chase Records Center Attn: Correspondence Mail
            _____________________________________________________________
            Number                  Street

            700 Kansas Lane, Mail Code LA4-5555
            _____________________________________________________________
            Address 2

             Monroe                                  LA      71203
            _____________________________________________________________
              City                                      State        ZIP Code



                     866-243-5851                                                PCN_Escalations@chase.com
 Contact phone _________________________                                        ____________________________________________________________
                                                                                Email




Official Form 410S1                                     Notice of Mortgage Payment Change                                              page 2
         Case 6:22-bk-14721-RB           Doc      Filed 04/26/24 Entered 04/26/24 13:04:42                   Desc Main
                                                 Document
                     UNITED STATES BANKRUPTCY COURT            Page 3 of 9

                                             Central District of California (Riverside)


                                                  Chapter 13 No. 22-14721
                                                  Judge: MAGDALENA REYES BORDEAUX

In re:
DENISE JANET MOORE
                                         Debtor(s).

                                         CERTIFICATE OF SERVICE
I hereby certify that this Notice, including all attachments, is being served on or before April 29, 2024 via filing with the US
Bankruptcy Court's CM ECF system and/or by mailing or providing a copy of this document to a vendor for mailing: By U.S. Postal
Service First Class Main Postage Prepaid


Debtor:                           By U.S. Postal Service First Class Mail Postage Prepaid
                                   DENISE JANET MOORE
                                   10363 MORNING RIDGE DR

                                   MORENO VALLEY CA 92557



                                  By U.S. Postal Service First Class Mail Postage Prepaid
                                   N/A




Debtor’s Attorney:                By U.S. Postal Service First Class Mail Postage Prepaid
                                   BENJAMIN HESTON
                                   ATTORNEY
                                   100 BAYVIEW CIRCLE SUITE 100

                                   NEWPORT BEACH CA 92660


                                  By U.S. Postal Service First Class Mail Postage Prepaid
                                   N/A




Trustee:                          By U.S. Postal Service First Class Mail Postage Prepaid
                                   ROD DANIELSON
                                   TRUSTEE
                                   3787 UNIVERSITY AVENUE

                                   RIVERSIDE CA 92501

                                                       _______________________________________________
                                                       /s/Raymond Reynolds
                                                        Authorized Officer
                                                        JPMorgan Chase Bank, N.A.
Case 6:22-bk-14721-RB   Doc    Filed 04/26/24 Entered 04/26/24 13:04:42   Desc Main
                              Document      Page 4 of 9
Case 6:22-bk-14721-RB   Doc    Filed 04/26/24 Entered 04/26/24 13:04:42   Desc Main
                              Document      Page 5 of 9
Case 6:22-bk-14721-RB   Doc    Filed 04/26/24 Entered 04/26/24 13:04:42   Desc Main
                              Document      Page 6 of 9
Case 6:22-bk-14721-RB   Doc    Filed 04/26/24 Entered 04/26/24 13:04:42   Desc Main
                              Document      Page 7 of 9
Case 6:22-bk-14721-RB   Doc    Filed 04/26/24 Entered 04/26/24 13:04:42   Desc Main
                              Document      Page 8 of 9
Case 6:22-bk-14721-RB   Doc    Filed 04/26/24 Entered 04/26/24 13:04:42   Desc Main
                              Document      Page 9 of 9
